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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

STEPHEN F. ALBEE, on behalf of
himself and all others similarly situated,                  Case No. 3:14-cv-01538-MMH-JRK

               Plaintiff,                                   CLASS ACTION

v.

SONNY’S FRANCHISE COMPANY,

            Defendant.
_____________________________________/

                 NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO
                 FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff, Stephen

F. Albee, hereby gives notice that the above-captioned case is voluntarily dismissed with

prejudice against Defendant, Sonny’s Franchise Company. Each party shall bear its own fees

and costs.

Dated: May 7, 2015                           Respectfully submitted,


                                             MORGAN & MORGAN
                                             COMPLEX LITIGATION GROUP

                                             /s/ Jonathan B. Cohen
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 7th day of May, 2015, I electronically filed a true and

correct copy of this Notice of Voluntary Dismissal with the Clerk of the Court using the

CM/ECF system, which will send notification to all attorneys of record in this matter.

                                             /s/ Jonathan B. Cohen
                                             Jonathan B. Cohen




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